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Plaintiffs and the Class

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CAI GUO and WEI CHEN
on behalf of themselves, Nationwide FLSA
Collective Plaintiffs and the Class,               Case No.:

                      Plaintiffs,
                                                   CLASS AND COLLECTIVE ACTION
               v.                                  COMPLAINT

CENTENE CORPORATION,                               Jury Trial Demanded
CENTENE MANAGEMENT COMPANY
     LLC,
WELLCARE HEALTH PLANS, INC., and
COMPREHENSIVE HEALTH
     MANAGEMENT, INC.,

                      Defendants.


       Plaintiffs CAI GUO and WEI CHEN (“Plaintiffs”), on behalf of themselves and others

similarly situated, by and through their undersigned attorneys, hereby file this Class and

Collective Action Complaint against Defendants, CENTENE CORPORATION, CENTENE

MANAGEMENT           COMPANY        LLC,   WELLCARE            HEALTH    PLANS,   INC.,   and

COMPREHENSIVE HEALTH MANAGEMENT, INC., (collectively “Defendants” or

“Centene”), and state as follows:




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                                      INTRODUCTION

       1.      Plaintiffs CAI GUO and WEI CHEN allege, pursuant to the Fair Labor Standards

Act, as amended, 29 U.S.C. §§ 201 et seq. (“FLSA”), that they and others similarly situated are

entitled to recover from Defendants: (1) unpaid wages due to time-shaving, (2) unpaid overtime

compensation, (3) liquidated damages and (4) attorneys’ fees and costs.

       2.      Plaintiff WEI CHEN alleges, pursuant to the New York Labor Law (“NYLL”),

that he and others similarly situated are entitled to recover from Defendants: (1) unpaid wages

due to time-shaving, (2) unpaid overtime compensation, (3) statutory penalties, (4) liquidated

damages and (5) attorneys’ fees and costs.

       3.      Plaintiffs WEI CHEN alleges that he and others similarly situated are entitled to

recover from Defendants damages due to Defendants: (1) breach of contract, (2) negligent

misrepresentation, (3) promissory fraud, and (5) unjust enrichment.

       4.      Defendants operate a leading healthcare enterprise selling healthcare insurance

products to individuals and families across the country. Defendants supply healthcare products

to 1 in 15 Americans across all 50 U.S. states. See Exhibit A, Press Release of Defendants.

       5.      Plaintiffs and potential class members were all victims of Defendants’ scheme to

underpay employees and avoid paying overtime. Defendants impermissibly induced extensive

off-the-clock work with a policy of instituting excessive quotas on employees, which required

overtime hours to complete.      At the same time, Defendants maintained a procedure for

requesting overtime requiring an employee to subject themselves to a productivity review and

possible reprimand/termination. Moreover, employees of Defendants paid on commission were

also victims of what is referred to as the “Open Enrollment Scandal” occurring in 2020.

Defendants induced higher sales by distributing emails and paperwork promising higher




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commission rates than were actually delivered to employees. Plaintiffs bring this wage and hour

class action on behalf of themselves and all persons, who during the applicable limitations period

up to and including the present, were similarly underpaid by Defendants in violation of

protections afforded under the FLSA, parties’ contracts, laws of equity, and the laws and

regulations passed in the District of Columbia and the following states:

       1) Alaska: Alaska Wage and Hour Act, Alaska Statute §23.10.050 et seq.;
       2) Arizona: Arizona Fair Wages and Healthy Families Act, A.R.S. § 23-340 et seq., and
          the Arizona Minimum Wage Act Practice and Procedure A.A.C. R20-5-1201 et seq.;
       3) Arkansas: Arkansas Minimum Wage Act, Ark. Code Ann. § 11-4-201, et seq.;
       4) California: California Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200-
          17210; and the California Labor Code and relevant Industrial Welfare Commission
          Wage Order;
       5) Colorado: Colorado Wage Claim Act, Colo. Rev. Stat. § 8-4-101 et seq., and the
          Colorado Minimum Wage Act, Colo. Rev. Stat. § 8-6-101 et seq.;
       6) Connecticut: Connecticut Wage Act Conn. Gen. Stat. §§31-58, et seq.;
       7) Delaware: Delaware Minim Wage Law, Delaware Code Title 19-90 et seq.;
       8) District of Columbia: District of Columbia Minimum Wage Act Revision Act, D.C.
          Code § 32-1001 et seq.;
       9) Florida: Florida’s Unpaid Wages Statute, Fla. Stat. 448.08 et seq.;
       10) Georgia: Georgia Minimum Wage Law, Official Code of Georgia Annotated
           O.C.G.A. § 34-4 et seq.;
       11) Hawaii: Hawaii Payment of Wages and other Compensation, Hawaii Revised Statutes
           Title 21 § 388-1 et seq.;
       12) Idaho: Idaho the Minimum Wage Law 44-1501 et seq., Hours Worked Act §44-1201
           et seq., and the Liens, Mortgages and Pledges, Idaho Code § 45-601 et seq.;
       13) Illinois: Illinois Labor Laws, 820 ILCS 105 et seq.;
       14) Indiana: Indiana Wages Hours and Benefits, Ind. Code §22-2-2 et seq. Indiana
           Frequency of Wage Payments Ind. Code §22-2-5 et seq.;
       15) Iowa: Iowa Wage Payment Collection Law, Iowa Code §91A et seq.;
       16) Kansas: Kansas Labor and Industries Law, Kan. Stat. Ann. §44-1201 et seq.;
       17) Kentucky: Kentucky Wage Statutes, K.Y. Rev. Stat. Ann. §§ 337.275 et seq.;
       18) Louisiana: Louisiana's Wage Payment Act, Louisiana Revised Statutes §23:631 et
           seq.;



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19) Maine: Maine Employment Practices Act, 26 Me. Rev. Stat. §§ 621-A, 626, 626-A, &
    629, and the Maine Minimum Wage and Overtime Law, 26 Me. Rev. Stat. §§ 664 &
    670;
20) Maryland: Maryland Wage and Hour Law, Md. Code Ann., Lab. & Empl. § 3-401 et
    seq., and the Maryland Wage Payment Collection Law, Lab. & Empl. § 3-501 et seq.;
21) Massachusetts: Massachusetts Minimum Fair Wage Law, Mass. Gen. L. ch. 151, §1A
    et seq.;
22) Michigan: Michigan Workforce Opportunity Wage Act, MCL §§ 408.411, et seq.;
23) Minnesota: Minnesota Fair Labor Standards Act, Minn. Stat. § 177.25, and the
    Minnesota Payment of Wages Act, Minn. Stat. § 181.101 et seq.;
24) Missouri: Missouri Minimum Wage Law, Mo. Rev. Stat. §§ 290.500 et seq.;
25) Montana: Montana Minimum Wage and Overtime Compensation Act, MCA § 39-3-
    401 et seq., and the Montana Payment of Wages Law, MCA §39-3-201 et seq.;
26) Nebraska: Nebraska’s Wage and Hour Act, Neb. Rev. Stat. § 48-1201 et seq., and the
    Nebraska Wage Payment and Collection Act, Neb. Rev. Stat. § 48-1228 et seq.;
27) Nevada: Nevada Minimum Wage Amendment of the Nevada Constitution, Nev.
    Const. art. 15, § 16, and the Nev. Rev. Stat. Chapt. 60,
28) New Hampshire: New Hampshire Minimum Wage Law, N.H. Rev. Stat. § 279:1 et
    seq.;
29) New Jersey: New Jersey Wage Payment Law, N.J.S.A. §§ 34:11-4.1 et seq.; and the
    New Jersey Wage and Hour Law, N.J.S.A. §§ 34:11-56a et seq.;
30) New Mexico: New Mexico Minimum Wage Law, N.M. Stat. Ann. §50-4 et seq.;
31) New York: New York Labor Law, Article 19 § 650 et seq., and Article 6 § 190 et
    seq.;
32) North Carolina: North Carolina Wage and Hour Act, N.C.G.S. § 95-25.1, et seq.;
33) North Dakota: North Dakota Labor and Employment Law., N.D. Cent. Code 34-01 et
    seq., and the North Dakota Minimum Wage and Work Conditions Order N.D. Ain
    Code §4602-07-01 et seq.;
34) Ohio: Ohio Minimum Fair Wage Standards Act, O.R.C. § 4111.01 et seq.;
35) Oklahoma: Oklahoma General Wage Law, O.S. §§40-165.1. et seq.;
36) Oregon: Oregon Minimum Wage Law, Oreg. Rev. Stat. §51-653, and the Oregon
    Rules Regulating Minimum Wage, Overtime and Working Conditions OAR 839-020-
    0000, et seq.;
37) Pennsylvania: Pennsylvania Minimum Wage Act 43 Pa. Cons. Stat. § 333.101 et seq.;
38) Puerto Rico: Puerto Rico Working Hours and Days Laws, 29 L.P.R.A. §§271, et seq.;
39) Rhode Island: Rhode Island Minimum Wage Act, R.I. Gen. Laws §§ 28-12-1, et seq.,
    and the Rhode Island Wages Act, R.I. Gen. Laws §§ 28-14-1, et seq.;



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          40) South Carolina: South Carolina Payment of Wages Act, S.C. Code Ann. § 41-10-10
              et seq.;
          41) South Dakota: South Dakota Labor and Employment Laws, S.D.C.L. 60-1-1, et seq.;
          42) Texas: Texas Minimum Wage Act, Texas Labor Code § 62.001 et seq.;
          43) Vermont: Vermont Wages and Medium of Payment Laws, 21 V.S.A. §§341, et seq.;
          44) Virginia: Virginia Minimum Wage Act, VA Code § 40.1 et seq.;
          45) Washington: Washington Minimum Wage Act, R.C.W. 49.46.005, et seq.; and
              Washington Minimum Wage Rules, WAC 296-126 et seq.;
          46) West Virginia: West Virginia Minimum Wage and Maximum Hours Act, W. Va.
              Code §25-5C-1, et seq.;
          47) Wisconsin: Wisconsin Hours of Work and Overtime Rules, Wis. Admin. Code, §§
              DWD 272.01 et seq. and 274.01 et seq.; and
          48) Wyoming: Wyoming Minimum Wages, W.S. 1977 §§27-4-201, et seq. and
              Collection of Unpaid Wages, §§27-4-501, et seq.

          6.      Plaintiff CAI GUO executed an individual general release as to all claims against

Defendants on March 15, 2021. By the express terms of his agreement, excluded from the release is

“any claim[] that the controlling law clearly states may not be released by private agreement.”

Plaintiff CAI GUO advances his FLSA claims in this action as controlling law clearly states that

FLSA claims may not be released by private agreement. The Supreme Court of the United States

when interpreting “the FLSA [has] frequently emphasized the nonwaivable nature of an

individual employee’s right to a minimum wage and to overtime pay under the Act.” Barrentine

v. Ark.-Best Freight Sys., 450 U.S. 728, 740, 101 S. Ct. 1437, 1445 (1981). The Court goes on to

hold that FLSA rights cannot be waived by contract, and to allow for waiver or releases of FLSA

claims would “nullify the purposes” of the statute. Id. Moreover, the Second Circuit itself has

repeatedly reaffirmed this position. See Bormann v. AT & T Commc’ns, Inc., 875 F.2d 399, 401

(2d Cir. 1989) (“[P]rivate waiver of claims under the [FLSA] has been precluded by such

Supreme Court decisions as Brook. Sav. Bank, 324 U.S. 697, and D.A. Schulte, Inc., 328 U.S.

108.”).



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                                 JURISDICTION AND VENUE

       7.      Defendants are subject to personal jurisdiction in this judicial district.

       8.      This Court has subject matter jurisdiction over this controversy pursuant to 29

U.S.C. § 216(b), 28 U.S.C. §§ 1331, 1337 and 1343, and has supplemental jurisdiction over

Plaintiff WEI CHEN state law claims pursuant to 28 U.S.C. § 1367.

       9.      Venue is proper in the Southern District pursuant to 28 U.S.C. § 1391.

       10.     This Court is empowered to issue a declaratory judgement pursuant to 28 U.S.C.

§§ 2201 and 2202.

                                             PARTIES

       11.     Plaintiff CAI GUO is a resident of Kings County, New York.

       12.     Plaintiff WEI CHEN is a resident of Richmond County, New York.

       13.     At all relevant times, Defendant CENTENE CORPORATION has wholly owned

and managed Defendant CENTENE MANAGEMENT COMPANY LLC.

       14.     At all relevant times, Defendant WELLCARE HEALTH PLANS, INC. has

wholly owned and managed Defendant COMPREHENSIVE HEALTH MANAGEMENT, INC.

       15.     On January 23, 2020, Defendant CENTENE CORPORATION acquired

Defendant WELLCARE HEALTH PLANS, INC., and all its subsidiaries, becoming the parent

corporation to all Defendants in this action. As of January 23, 2020, Defendant CENTENE

CORPORATION has wholly owned and managed Defendants CENTENE MANAGEMENT

COMPANY LLC, WELLCARE HEALTH PLANS, INC., and COMPREHENSIVE HEALTH

MANAGEMENT, INC.

       16.     Defendant CENTENE CORPORATION is a foreign business corporation

operating in New York and organized under the laws of Delaware. Its principal executive office




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is located at 7700 Forsyth Blvd., St. Louis, MO 63105, and its address for service of process

purposes is c/o CT Corporation System, 28 Liberty Street, New York, NY, 10005. Defendant

CENTENE CORPORATION is registered to conduct business in New York.

       17.     Defendant CENTENE MANAGEMENT COMPANY LLC, a wholly owned

subsidiary of Defendant CENTENE CORPORATION, is a foreign business corporation

operating in New York and organized under the laws of Wisconsin. Its principal executive office

is located at 7700 Forsyth Blvd., St. Louis, MO 63105, and its address for service of process

purposes is c/o CT Corporation System, 28 Liberty Street, New York, NY, 10005. Defendant

CENTENE MANAGEMENT COMPANY LLC is registered to conduct business in New York.

       18.     Defendant WELLCARE HEALTH PLANS, INC., a wholly owned subsidiary of

Defendant CENTENE CORPORATION, is a foreign business corporation operating in New

York and organized under the laws of Florida. Its principal executive office is located at 7700

Forsyth Blvd., St. Louis, MO 63105, and its address for service of process purposes is c/o CT

Corporation System, 1200 South Pine Island Road, Plantation, FL 33324.

       19.     Defendant COMPREHENSIVE HEALTH MANAGEMENT, INC. is a foreign

business corporation operating in New York and organized under the laws of Florida. Its

principal executive office is located at 7700 Forsyth Blvd, St. Louis, MO 63105, and its address

for service of process purposes is c/o CT Corporation System, 28 Liberty Street, New York, NY,

10005. Defendant COMPREHENSIVE HEALTH MANAGEMENT, INC. is registered to

conduct business in New York.

       20.     Centene maintains offices and hires employees throughout the entire United

States, including offices in the following: Alabama (1), Arizona (6), Arkansas (1), California

(31), Connecticut (4), Delaware (1), Florida (20), Georgia (3), Hawaii (1), Illinois (1), Iowa (1),




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Kansas (3), Kentucky (6), Louisiana (4), Maine (1), Maryland (1), Massachusetts, Michigan (2),

Minnesota (1), Mississippi (1), Missouri (4), Nebraska, Nevada (2), New Hampshire (2), New

Jersey (1), New Mexico (2), New York (5), North Carolina (4), Ohio (4), Oklahoma (1), Oregon

(1), Pennsylvania (3), Rhode Island (1), South Carolina (2), Tennessee (2), Texas (9), Vermont,

Washington (4), Wisconsin (3) (the “Centene” Offices”). See Exhibit B.

       21.      The Centene Offices share common central management, Human Resources team,

central payroll, and central marketing team.

              a) Each Centene Office location is engaged in the same business of providing
                 insurance sales services.

              b) All the Centene Offices share the same trade name "Centene " with the same logo
                 and are marketed jointly on one (1) common website: (https://centene.com/). See
                 Exhibit B.

              c) The Centene Offices within New York State are commonly owned and operated
                 by Centene.

              d) All Centene Offices share the common, corporate office address, common
                 number, and vendor for employment verification. See Exhibit C.

              e) Job openings of Centene Offices in multiple states were posted on the same
                 Webpage for prospective employees to apply. See also Exhibit D for the
                 “Careers” Webpage.

              f) All Centene Offices share common social media accounts, including: Facebook,
                 LinkedIn, YouTube, Twitter.

              g) All Centene Offices share a common employee handbook. See Exhibit E.

              h) All Centene Offices share consolidated financials, which may be seen by
                 Defendant WELLCARE HEALTH PLANS, INC.’s 10-k filing with the SEC
                 dated February 12, 2019, and Defendant CENTENE CORPORATION’s 10-k
                 filing dated February 22, 2020.

       22.      At all relevant times, the Defendant was and continues to be an “enterprise

engaged in commerce” within the meaning of the FLSA, applicable state law, and the regulations

thereunder.


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       23.     At all relevant times, the work performed by Plaintiff, Nationwide FLSA

Collective Plaintiffs and Class Members was directly essential to the business operated by

Defendant.

             NATIONWIDE FLSA COLLECTIVE ACTION ALLEGATIONS

       24.     Plaintiffs bring claims for relief as a collective action pursuant to the FLSA, 29

U.S.C. § 216(b), on behalf of all non-managerial employees, who engaged or facilitated in the

sales, consultation, enrollment and/or recertification of clients (including but not limited to all

marketing sales associates, sales agents, consultant associates, benefit specialists and eligibility

specialists throughout the United States) employed by Defendants on or after the date that is

three (3) years before parties’ tolling agreement in this matter, which was fully executed on

October 25, 2021 (“Nationwide FLSA Collective Plaintiffs”).

       25.     At all relevant times, Plaintiffs and Nationwide FLSA Collective Plaintiffs are

and have been similarly situated, have had substantially similar job requirements and pay

provisions, and are and have been subjected to Defendants’ decisions, policies, plans, programs,

practices, procedures, protocols, routines, and rules, all culminating in a willful failure and

refusal to pay them the proper overtime compensation at the rate of one and one half times the

regular hourly rate for work in excess of forty (40) hours per workweek due to a policy of time-

shaving and improper overtime rates. The claims of Plaintiffs stated herein are essentially the

same as those of Nationwide FLSA Collective Plaintiffs.

       26.     The claims for relief are properly brought under and maintained as an opt-in

collective action pursuant to the FLSA, 29 U.S.C. § 216(b). The Nationwide FLSA Collective

Plaintiffs are readily ascertainable. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from Defendants. Notice can be provided




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to the Nationwide FLSA Collective Plaintiffs via first class mail to the last address known to

Defendants.

                               RULE 23 CLASS ALLEGATIONS

       27.     Plaintiffs WEI CHEN bring claims for relief pursuant to the Federal Rules of Civil

Procedure (“F.R.C.P.”) Rule 23, on behalf of all non-managerial employees who engaged or

facilitated in the sales, consultation, enrollment and/or recertification of clients (including but not

limited to all mark marketing sales associates, sales agents, consultant associates, benefit

specialists and eligibility specialists throughout the United States or individual subclasses in

other states thereof) employed by Defendants in the three (3) years – or the relevant statutory

period pursuant to each states applicable laws of labor, laws regarding contract, and laws of

equity – before parties’ tolling agreement in this matter, which was fully executed on October

25, 2021. (the “Class Period”).

       28.     All said persons, including Plaintiff WEI CHEN are referred to herein as the

“Class” or “Class Members.” The Class Members are readily ascertainable. The number and

identity of the Class Members are determinable from the records of Defendants. The hours

assigned and worked, the position held, and the rates of pay for each Class Member are also

determinable from Defendants’ records. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from Defendants. Notice can be provided

by means permissible under F.R.C.P. 23.

       29.     Plaintiff WEI CHEN’s claims are typical of those claims, which could be alleged

by any member of the Class, and the relief sought is typical of the relief, which would be sought

by each member of the Class in separate actions. All the Class Members were subject to the same

corporate practices of Defendants, as alleged herein, of time-shaving, improper overtime rates,




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failing to pay overtime compensation, failing to provide proper wage statements, and failing to

provide proper wage and hour notices. Defendants’ corporate-wide policies and practices

affected all Class Members similarly, and Defendants benefited from the same type of unfair

and/or wrongful acts as to each Class Member. Plaintiff WEI CHEN, and other Class Members

sustained similar losses, injuries and damages arising from the same unlawful policies, practices

and procedures.

       30.     To the extent necessary, Plaintiff CHEN will designate subclasses for each of the

States where Defendants have employees.

       31.     The Class also includes a subclass of employees who all worked for Defendants and

were all subject to the same underpayment of commissions for the enrollments and sales made

between the months of November 2019 to January 2020 (“Commission Subclass”). Plaintiff WEI

CHEN is a member of the Commission Subclass.

       32.     During the 2019-2020 open-enrollment season, Commission Subclass members were

induced into working extra hours and producing extra sales by way of a fraudulently published

commission structure. Open enrollment is a period of time each year when individuals and businesses

can sign up for health insurance or change health plans. Outside of Open Enrollment, individuals and

businesses can only change plans due to a life event that qualifies for a Special Enrollment Period. As

such, the open enrollment period is especially important for insurance providers for purposes of

retaining and enrolling new and additional customers. The open enrollment period takes place from

the month of November through mid-January each year.

       33.     The commission structure repeatedly published to Commission Subclass members

prior to the 2019 open-enrollment season was intended to incentivize and induce extra work and sales

from the Commission Subclass members by way of a new commission structure promising larger




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commissions for employees should certain sales goals be reached. Plaintiff WEI CHEN and

Commission Subclass members reached the sales goals set by Defendants. On February 14, 2020,

after Commission Subclass members reached sales goals set by Defendants, Defendants WELLCARE

HEALTH PLANS, INC.’s Vice President of Field Sales and Marketing stated in an email to

employees “Please be assured that the miscommunication regarding commissions was purely my

mistake due to our misinterpretation of the commission plan…” Defendants induced extra work,

further hours, and greater sales from Plaintiff WEI CHEN and Commission Subclass members all

to Defendants’ benefit, but never provided Commission Subclass members the agreed upon

compensation for such work and sales.

       34.     The proposed Class is so numerous that a joinder of all members is impracticable,

and the disposition of their claims as a class will benefit the parties and the Court. Although the

precise number of such persons is unknown, the facts on which the calculation of that number

are presently within the sole control of Defendant, there is no doubt that there are more than forty

(40) members of the Class. The members of each state’s potential subclass total over forty (40)

as well. Commission Subclass members also total over forty (40).

       35.     Plaintiff WEI CHEN is able to fairly and adequately protect the interests of the

Class, and the Commission Subclass, and have no interests antagonistic to the Class or Subclass.

       36.     Plaintiff WEI CHEN is represented by attorneys who are experienced and

competent in both class action litigation and employment litigation and have previously

represented plaintiffs in wage and hour cases.

       37.     A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of the wage and hour litigation

where individual Class Members lack the financial resources to vigorously prosecute a lawsuit




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against a corporate defendant. Class action treatment will permit a large number of similarly

situated persons to prosecute common claims in a single forum simultaneously, efficiently, and

without the unnecessary duplication of efforts and expense that numerous individual actions

engender. Because losses, injuries and damages suffered by each of the individual Class

Members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Class

Members to redress the wrongs done to them. On the other hand, important public interests will

be served by addressing the matter as a class action. The adjudication of individual litigation

claims would result in a great expenditure of Court and public resources; however, treating the

claims as a class action would result in a significant saving of these costs. The prosecution of

separate actions by individual members of the Class would create a risk of inconsistent and/or

varying adjudications with respect to the individual members of the Class, establishing

incompatible standards of conduct for Defendants and resulting in the impairment of Class

Members’ rights and the disposition of their interests through actions to which they were not

parties. The issues in this action can be decided by means of common, class-wide proof. In

addition, if appropriate, the Court can, and is empowered to, fashion methods to efficiently

manage this action as a class action.

       38.     Defendants and other employers throughout the United States violate state labor

laws. Current employees are often afraid to assert their rights out of fear of direct or indirect

retaliation. Former employees are fearful of bringing claims because doing so can harm their

employment, future employment, and future efforts to secure employment. Class actions provide

Class Members who are not named in the Complaint a degree of anonymity, which allows for the

vindication of their rights while eliminating or reducing these risks.




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       39.    There are questions of law and fact common to the Class which predominate over

any questions affecting only individual Class Members, including:

              (a)   Whether Defendants employed Plaintiff WEI CHEN and Class Members

                    within the meaning of the state labor laws;

              (b)   What are and were the policies, practices, programs, procedures, protocols

                    and plans of Defendants regarding the types of work and labor for which

                    Defendants did not pay the Plaintiff WEI CHEN and Class Members

                    properly;

              (c)   At what common rate, or rates subject to common methods of calculation,

                    was and are Defendants required to pay Plaintiff WEI CHEN and Class

                    Members for their work;

              (d)   Whether Defendants properly notified Plaintiff WEI CHEN and Class

                    Members of their pay rates;

              (e)   Whether Defendants paid Plaintiff WEI CHEN and Class Members the

                    proper overtime compensation;

              (f)   Whether Defendants paid Plaintiff WEI CHEN and Class Members for all

                    hours worked;

              (g)   Whether Defendants provided proper wage statements to Plaintiff WEI

                    CHEN and Class Members;

              (h)   Whether Defendants provided proper wage and hour notices to Plaintiff

                    WEI CHEN and Class Members;

              (i)   Whether Defendants paid proper commissions to Commission Subclass

                    members; and




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              (j)   Whether Defendants properly compensated Commission Subclass members

                    at the rate promised by Defendants.

                                  STATEMENT OF FACTS

       40.    Defendants operate a healthcare enterprise that focuses on the sale of insurance to

individuals and families, who are either uninsured or seeking to change healthcare insurance

providers.

       41.    In operating their business Defendants engaged in multiple schemes to underpay,

or in many cases avoid paying, overtime hours to employees. Plaintiffs and Class Members were

all victims of Defendants inducement of off-the-clock work and of Defendants’ failure to pay

proper time-and-a-half overtime premiums to its employees.

       42.    In maintaining its business, Defendants’ central management enacted a policy of

establishing and setting quotas for virtually every aspect of Defendants’ business. Such quotas

for those engaged in customer support involved the number of customer issues which needed to

be resolved in a day. For those engaged in selling Defendants’ insurance packages, such quotas

included the number of sales, i.e., enrollments, an employee had to make each quarter. For those

employees working as eligibility specialists, such employees had quotas for the review of

costumer documents to verify qualifying eligibility for various programs.

       43.    Defendants’ quotas were used to impermissibly induce extensive off-the-clock

work by setting extreme targets that employees could not complete in a 40-hour work week.

Even as Defendants induced overtime work from employees, Defendants maintained a procedure

and policy for requesting overtime, which required all employees to subject themselves to a

productivity review and possible reprimand/termination.




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       44.     Due to company pressure to produce and because it was not possible to meet

production quotas working only during their regular scheduled hours, Plaintiffs and Class

Members had no choice but to engage in work activities after their scheduled hours or risk

termination. Plaintiffs and their coworkers took calls, input data, reviewed paperwork, and

engaged in work after hours and off-the-clock. Defendants had full knowledge of the behavior

their quotas and policies engendered as Plaintiffs and Class Members would submit completed

forms and applications necessary to enrollment and/or approval during their off hours when

Defendants knew their employees were not clocked in. Although Plaintiffs and Class Members

were working overtime, Defendants did not pay them for their overtime hours.

       45.     Plaintiffs and Class Members off-the-clock work worsened in March of 2020.

After March of 2020, employees were required to work from home due to COVID induced

lockdowns. Once Plaintiffs and Class Members were required to work from home, regional

managers threatened employees against inputting hours outside their scheduled work hours

without prior approval.

       46.     As a consequence of this threat and as may be seen from the paystub examples

provided by Plaintiffs, after March of 2020, Class Members compensable hours reflected their

scheduled hours equivalently. See id. Defendants were and are aware that employees are engaging in

off-the-clock work in excess of their registered hours as Defendants would receive notices and time-

stamps of documents, verifications, and resolution of customer issues after the supposed scheduled

and recorded hours of Plaintiffs and Class Members.

       47.     Moreover, on those occasions when an employee submits and is in fact paid

overtime, Defendants paid the employee at an impermissibly low half-time rate. See Exhibit F

and G. Paystubs of Plaintiff CAI GUO and WEI CHEN Showing Half-Time Overtime Rate.




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Despite Plaintiff and Nationwide FLSA Plaintiffs, and Class Members’ paystubs purporting to pay

employees by the hour, for hours worked over forty employees paid at the proper time-and-a-half rate

(1.5x), Defendants would only compensate employees at a rate of half (.5x) their base hourly pay rate.

        48.     Defendants’ violations may be seen clearly through their provided paystubs. See id.

As an example, for the two weeks between February 17, 2019 and March 2, 2019, Plaintiff CAI GUO

was provided two paystubs on March 8, 2019. See id. at P000004. Despite the fact that each paystub

only covered one of the two weeks between February 17, 2019 and March 2, 2019, both purport to

cover the entirety of the two-week period. See id. Defendants’ paystubs themselves are deficient as

neither identifies which of the two weeks the payment covers as needed pursuant to the FLSA and

state labor laws. See id. The paystub also reveals Defendants’ pay violation of only compensating

employees at a half-time rate. See id. In one of the two paystubs, Plaintiff is recognized as working a

total of 41.25 hours, 40 hours at a regular rate of $26.45 and 1.25 hours at a half-time rate of $12.83.

See id. In the second paystub, Plaintiff is seen to have worked a total of 48.25 hours, 40 hours at a

regular rate of $26.45 and 8.25 hours at a half-time rate of $10.96. See id.

        49.     On the paystubs provided by Defendants, Defendants acknowledge in the

“information” section that the “Basis of Pay” of Plaintiffs’ pay is “Hourly[.]” See id.

        50.     Defendants failed to pay the full time and half pay-rate despite paying hourly and

having no agreement with Plaintiffs, Nationwide FLSA Plaintiffs, and Class Members that their

weekly pay was meant to include all hours including overtime hours.

        51.     Moreover, employees of Defendants paid on commission were also victims of

what Commission Subclass members often refer to as the “Open Enrollment Scandal” occurring

in 2020. During the open enrollment season of 2020, Defendants induced higher sales by




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distributing emails and paperwork promising higher commission rates than were actually

delivered to employees.

Plaintiff CAI GUO Wage and Hour Claims:

        52.    On or about June 18, 2018, Defendants WELLCARE HEALTH PLANS, INC.

and COMPREHENSIVE HEALTH MANAGEMENT, INC. hired Plaintiff CAI GUO to work as

a marketing sales associate for Defendants’ office located at 765 61st Street Brooklyn, NY

11220. In or around February 2020, Plaintiff CAI GUO’s position with Defendants changed to a

benefit consultant. Plaintiff CIAO GUO’s employment with Defendants ended on March 12,

2021.    At the end of Plaintiff CAI GUO’s employment, Plaintiff CAI GUO’s rate of

compensation was $29.06 an hour plus commissions. During his employment, he was

compensated on an hourly basis.

        53.    Throughout Plaintiff CAI GUO’s employment, Plaintiff CAI GUO would work

under one of two schedules. Either Plaintiff CAI GUO was scheduled to work Monday through

Friday, 9:00 AM to 5:00 PM with a half-hour lunch or Plaintiff CAI GUO was scheduled to work

the same days with an hour lunch and an end time of 5:30 PM. Despite this supposed schedule,

Plaintiff CAI GOU always worked extra hours off-the-clock each week.

        54.    In his positions, Plaintiff CAI GUO sold Defendant’s private insurance plans. To

effectuate these sales, Plaintiff CAI GUO called existing and potential new clients to gather

additional information that was missing from the clients’ health-care applications, assisted client

in filling out forms, answering all questions from clients, and even driving to clients’ homes in

Brooklyn and Manhattan for signatures.

        55.    At all times throughout Plaintiff CAI GUO’s employment, Defendants’ instituted

sales quotas, which salespersons like Plaintiff CAI GUO were required to meet.




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       56.     For Plaintiff CAI GUO to meet his production quotas, he needed to sign up at

least (12) additional members per month, and during ‘open enrollment,’ the period between

October and December of each year, Plaintiff CAI GUO was required to enroll forty-five (45)

members a month. The progress of meeting these quotas was reviewed every three months. To

meet these quotas, Plaintiff CAI GUO typically worked 6-8 hours per week off-the-clock.

       57.     Additionally, in or around March of 2020, Plaintiff CAI GUO began working

remotely, from his home-office due to COVID restrictions. Immediately prior to his remote

working, Plaintiff CAI GOU’s manager informed employees that they were not to work beyond

their scheduled hours, and would be subject to productivity reviews for overtime hours logged.

       58.     After March of 2020, despite working hours beyond their scheduled hours,

Plaintiff CAI GOU and Class Members received paystubs reflecting their scheduled hours

exactly. See i.e., Exhibit F at P000009. Class Members’ similarly received compensation and

paystubs fraudulently listing working hours at their exact scheduled hours, typically exactly 75

or 80 hours, despite working significantly greater hours.

       59.     Defendants were aware of Plaintiff CAI GOU’s and Class Members real hours as

such off-the-clock work was registered by Defendants. During off-hours Plaintiff CAI GUO and

Class Members used Defendants’ cell-phones to make additional calls, emailed managers

additional applications, and input into Defendants’ system further sales documentation. All of

these activities were time-stamped and informed management of employees’ real working hours.

       60.     On those occasions where Plaintiff CAI GOU and Class Members received

overtime from Defendants, Plaintiff CAI GOU and Class Members’ overtime was paid at the

impermissibly low half-time rate. See Exhibit F at P000009.




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Plaintiff WEI CHEN Wage and Hour Claims:

         61.   In or about September of 2012, Defendants WELLCARE HEALTH PLANS,

INC. and COMPREHENSIVE HEALTH MANAGEMENT, INC. hired Plaintiff WEI CHEN to

work as a marketing sales associate for Defendants’ office located at 765 61st Street Brooklyn,

NY 11220. Plaintiff WEI CHEN’s employment with Defendants ended on June 28, 2021. At the

end of Plaintiff WEI CHEN’s employment, Plaintiff WEI CHEN’s rate of compensation was

$33.34 an hour plus commissions. During his employment, he was compensated on an hourly

basis.

         62.   Throughout Plaintiff WEI CHEN’s employment, Plaintiff WEI CHEN would work

under one of two schedules. Either Plaintiff WEI CHEN was scheduled to work Monday through

Friday, 9:00 AM to 5:00 PM with a half-hour lunch or Plaintiff WEI CHEN was scheduled to

work the same days with an hour lunch and an end time of 5:30 PM. Despite this supposed

schedule, Plaintiff WEI CHEN always worked extra hours off-the-clock each week.

         63.   In his positions, Plaintiff WEI CHEN sold Defendant’s private insurance plans.

To effectuate these, sales Plaintiff WEI CHEN called existing and potential new clients to gather

additional information that was missing from the clients’ health-care applications, assisted client

in filling out forms, and answering all questions from clients.

         64.   At all times throughout Plaintiff WEI CHEN’s employment, Defendants’ instituted

sales quotas, which salespersons like Plaintiff WEI CHEN were required to meet.

         65.   For Plaintiff WEI CHEN to meet his production quotas, he needed to sign up at

least (12) additional members per month, and during ‘open enrollment,’ the period between

October and December of each year, Plaintiff WEI CHEN was required to enroll forty-five (45)




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members a month. The progress of meeting these quotas was reviewed every three months. To

meet these quotas, Plaintiff WEI CHEN typically worked 6-8 hours per week off-the-clock.

       66.     Additionally, in or around March of 2020, Plaintiff WEI CHEN began working

remotely, from his home-office due to COVID restrictions. Immediately prior to his remote

working, Plaintiff WEI CHEN’s manager informed employees that they were not to work beyond

their scheduled hours and would be subject to productivity reviews for overtime hours logged.

       67.     After March of 2020, despite working hours beyond his scheduled hours, Plaintiff

WEI CHEN received paystubs reflecting his scheduled hours exactly. See Exhibit G at P000037.

Class Members’ similarly received compensation and paystubs fraudulently listing working

hours at their exact scheduled hours, typically exactly 75 or 80 hours, despite working

significantly greater hours.

       68.     Defendants were aware of Plaintiff WEI CHEN’s and Class Members real hours

as such off-the-clock work was registered by Defendants. During off-hours Plaintiff WEI CHEN

and Class Members used Defendants’ cell-phones to make additional calls, emailed managers

additional applications, and input into Defendants’ system further sales documentation. All of

these activities were time-stamped and informed management of employees’ real working hours.

       69.     On those occasions where Plaintiff WEI CHEN and Class Members received

overtime from Defendants, Plaintiff WEI CHEN and Class Members’ overtime was paid at the

impermissibly low half-time rate. See Exhibit G at P000026.

Fraudulent Commission Payment Allegations:

       70.     Throughout 2019, Defendants published a new commission structure for the open

enrollment period lasting from November 1, 2019 to January 31, 2020 (“Open Enrollment Period”).

This new commission structure promised significantly higher commissions to those employees who




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met certain sales metrics.

        71.     Prior to the Open Enrollment Period and again throughout the Open Enrollment

Period, Defendants published the expected commission for its employees. On or around, November

19, 2019, November 26, 2019, and December 5, 2019, Defendants published expected commissions

to employees and Commission Subclass members. The repeated publications of these expected

commissions were meant to induce employees into working extra hours and produce more sales.

        72.     Only after successfully inducing greater hours of work and further sales, Defendants

informed Commission Subclass members that Defendants would not compensate commissions based

on the previously published structure. Instead, after employees successfully generated higher than

normal sales, Defendants only compensated employees at a rate significantly lower, almost half, the

rate promised leading up-to and during the Open Enrollment Period.

        73.     The commission structure and expected commissions repeatedly published to

Commission Subclass members was intended to incentivize and induce extra work and sales from the

Commission Subclass members by way of a new commission structure promising larger, almost twice

the normal, commissions for employees should certain sales goals be reached.

        74.     Plaintiff CHEN and Commission Subclass members reached the sales goals set by

Defendants.     On February 14, 2020, after Plaintiff CHEN and Commission Subclass members

reached sales goals set by Defendants, Defendant WELLCARE HEALTH PLANS, INC.’s Vice

Presidents of Field Sales and Marketing began informing employees of that they would not receive

commissions based on the higher commission-based structure promised by Defendants.

        75.     Such Vice Presidents of Defendants included Jeff Ray, who informed Commission

Subclass members via email that “Please be assured that the miscommunication regarding

commissions was purely my mistake due to our misinterpretation of the commission plan…”




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       76.     Defendants induced extra work, further hours, and greater sales from the

Commission Subclass members all to Defendants’ benefit, but never provided Commission Subclass

members the promised compensation for such work and sales.

General Wage and Hour Allegations:

       77.     Similar to Plaintiffs, Nationwide FLSA Collective Plaintiffs and Class Members

regularly worked over forty (40) hours per week but Defendant failed to pay them for similar off-

the-clock work.

       78.     Similar to Plaintiffs, Nationwide FLSA Collective Plaintiffs and Class Members

regularly worked over forty (40) hours per week but Defendant failed to pay them the proper

owed one-and-one-half overtime premium.

       79.     Defendants knowingly and willfully operated its business with a policy of not

paying either the FLSA overtime rate (of time and one-half) or the state overtime rate (of time

and one-half) to Plaintiffs, Nationwide FLSA Collective Plaintiffs, and Class Members for all

hours worked in excess of forty (40) hours per week by demanding off-the-clock work.

       80.     Defendants knowingly and willfully operated its business with a policy of not

providing wage statements to Plaintiffs, Nationwide FLSA Collective Plaintiffs and Class

Members that list the accurate rates of pay and regular and overtime hours worked per week, as

required by the NYLL and applicable state labor laws.

       81.     Defendants knowingly and willfully operated its business with a policy of not

providing wage and hour notices that list the accurate rates of pay and regular and overtime

hours worked per week to Plaintiffs, Nationwide FLSA Collective Plaintiffs and Class Members,

in violation of the state wage and hour law.




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          82.   Plaintiffs retained Lee Litigation Group, PLLC to represent themselves,

Nationwide FLSA Collective Plaintiffs, and the Class Members in this litigation and have agreed

to pay the firm a reasonable fee for its services.

                                    STATEMENT OF CLAIM

                                             COUNT I

                VIOLATION OF THE FAIR LABOR STANDARDS ACT
          ON BEHALF OF PLAINTIFFS AND NATIONWIDE FLSA COLLECTIVE
                                 PLAINTIFFS

          83.   Plaintiffs reallege and reaver by reference all allegations in the preceding

paragraphs of this Class and Collective Action Complaint as if fully set forth herein.

          84.   At all relevant times, Defendants were and continues to be an employer engaged

in interstate commerce and/or the production of goods for commerce within the meaning of the

FLSA, 29 U.S.C. §§ 206(a) and 207(a). Further, Plaintiffs and Nationwide FLSA Collective

Plaintiffs are covered individuals within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and

207(a).

          85.   At all relevant times, Defendants employed Plaintiffs and Nationwide FLSA

Collective Plaintiffs within the meaning of the FLSA.

          86.   At all relevant times, Defendants had gross annual revenues in excess of

$500,000.

          87.   At all relevant times, Defendants had a policy and practice of failing to pay

overtime compensation at the statutory rate of time and one-half to Plaintiffs and Nationwide

FLSA Collective Plaintiffs for their hours worked in excess of forty (40) hours per workweek.

          88.   Defendants knew of and/or showed a willful disregard for the provisions of the

FLSA as evidenced by its failure to compensate Plaintiffs and Nationwide FLSA Collective




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Plaintiffs at the statutory overtime premium of time and one-half for their hours worked in

excess of forty (40) hours per week when Defendants knew or should have known such was due.

       89.     Defendants failed to properly disclose or apprise Plaintiffs and Nationwide FLSA

Collective Plaintiffs of their rights under the FLSA.

       90.     As a direct and proximate result of Defendant’s willful disregard of the FLSA,

Plaintiffs and Nationwide FLSA Collective Plaintiffs are entitled to liquidated (i.e., double)

damages pursuant to the FLSA.

       91.     Due to the intentional, willful and unlawful acts of Defendants, Plaintiffs and

Nationwide FLSA Collective Plaintiffs suffered damages in an amount not presently

ascertainable of unpaid overtime compensation, plus an equal amount as liquidated damages.

       92.     Records, if any, concerning the number of hours worked by Plaintiffs and

Nationwide FLSA Collective Plaintiffs and the actual compensation paid to Plaintiffs and

Nationwide FLSA Collective Plaintiffs are in the possession and custody of Defendant. Plaintiffs

intend to obtain these records by appropriate discovery proceedings to be taken promptly in this

case and, if necessary, will then seek leave of Court to amend this Complaint to set forth the

precise amount due.

       93.     Plaintiffs and Nationwide FLSA Collective are entitled to recover from

Defendants their unpaid overtime compensation, damages for unreasonably delayed payments,

statutory penalties, liquidated damages, reasonable attorneys’ fees and costs and disbursements

of the action pursuant to the FLSA.




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                                           COUNT II

                    VIOLATION OF THE NEW YORK LABOR LAW
                   ON BEHALF OF PLAINTIFF AND CLASS MEMBERS

       94.      Plaintiff WEI CHEN realleges and reavers by reference all allegations in all the

preceding paragraphs of this Class and Collective Action Complaint as if fully set forth herein.

       95.      At all relevant times, Plaintiff WEI CHEN and New York Class Members were

employed by Defendants within the meaning of the New York Labor Law §§ 2 and 651.

       96.      Defendants knowingly and willfully violated the rights of Plaintiff WEI CHEN

and New York Class Members by failing to pay them the proper overtime compensation at rates

of not less than one and one-half times the regular rate of pay for each hour worked in excess of

forty (40) hours in a workweek.

       97.      Defendants knowingly and willfully failed to provide proper wage and hour

notices to Plaintiff WEI CHEN and New York Class Members, as required by New York Labor

Law § 195(1).

       98.      Defendants knowingly and willfully failed to provide proper wage statements to

Plaintiff WEI CHEN and New York Class Members with every wage payment, as required by

New York Labor Law § 195(3).

       99.      Due to Defendants’ New York Labor Law violations, Plaintiff WEI CHEN and

New York Class Members are entitled to recover from Defendant their unpaid overtime

compensation, damages for unreasonably delayed payments, statutory penalties, liquidated

damages, reasonable attorneys’ fees and costs and disbursements of the action, pursuant to New

York Labor Law.




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                                           COUNT III

           VIOLATION OF APPLICABLE STATE WAGE AND HOUR LAWS

       100.      Plaintiff WEI CHEN realleges and reaver by reference all allegations in all the

preceding paragraphs of this Class and Collective Action Complaint as if fully set forth herein.

       101.      At all relevant times, Plaintiff WEI CHEN and Class Members were employed by

Defendants within the meaning of the applicable state wage and hour laws.

       102.      Defendants knowingly and willfully violated Plaintiff WEI CHEN and Class

Members’ rights by failing to pay them the proper overtime compensation at rates of not less

than one and one-half times the regular rate of pay for each hour worked in excess of forty (40)

hours in a workweek.

       103.      Defendants knowingly and willfully failed to provide proper wage statements and

notices to Plaintiff WEI CHEN and Class Members, as required under the applicable state wage

and hour laws.

       104.      Due to Defendants’ state law violations, Plaintiff WEI CHEN and Class Members

are entitled to recover from Defendants their unpaid overtime compensation, damages for

unreasonably delayed payments, statutory penalties, liquidated damages, reasonable attorneys’

fees and costs and disbursements of the action.

                                           COUNT IV

                     CLASS ALLEGATIONS - BREACH OF CONTRACT

       105.      Plaintiff WEI CHEN realleges and reaver by reference all allegations in all the

preceding paragraphs of this Class and Collective Action Complaint as if fully set forth herein

       106.      Plaintiff WEI CHEN on behalf of himself and Commission Subclass members

alleges that at all times material hereto, Plaintiff WEI CHEN and the Commission Subclass




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members performed fully their contractual obligations, namely—to generate sales on behalf of

Defendants pursuant to Defendants’ commission structure.

       107.    Defendants unfairly interfered with Plaintiff WEI CHEN and the Commission

Subclass members’ rights under their contract by publicizing and guaranteeing commission rates,

which Defendants never delivered.

       108.    As a direct and proximate result of Defendants’ failure to act fairly and in good

faith, Plaintiff WEI CHEN and the Commission Subclass members are entitled to recovery of the

full amount of wrongfully withheld or diverted payments, punitive damages due to egregious

conduct, attorneys’ fees and costs, and such other legal and equitable relief as this Court deems

just and proper.

                                           COUNT V

                     CLASS ALLEGATIONS - PROMISSORY FRAUD

       109.    Plaintiff WEI CHEN realleges and reaver by reference all allegations in all the

preceding paragraphs of this Class and Collective Action Complaint as if fully set forth herein

       110.    In order to induce Plaintiff WEI CHEN and Commission Subclass members to

work extra hours and generate greater sales, Defendants affirmatively promised Plaintiff WEI

CHEN and Commission Subclass members higher commission rates per sale if certain metrics

were met.

       111.    Defendants’ representations as set forth above were false and fraudulent, the

Defendants knew that the representations were false and fraudulent at the time they were made,

and Defendants did not intend to honor these representations.




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       112.    Plaintiff WEI CHEN and Commission Subclass members were not aware of the

falsity of Defendants’ representations, and reasonably and actually relied on them in accepting

employment with the Defendants.

       113.    As a direct and proximate result of Defendants’ false and fraudulent

misrepresentations, Plaintiff WEI CHEN and Commission Subclass members have sustained

damages in an amount according to proof at trial.

       114.    Plaintiff WEI CHEN and Commission Subclass members are informed and

believe, and on that basis allege, that Defendants false and fraudulent misrepresentations were

done with fraud and malice and in conscious disregard of Plaintiff WEI CHEN and the

Commission Subclass members' rights.

       115.    Plaintiff WEI CHEN and Commission Subclass members are entitled to recovery

of the full amount of wrongfully withheld or diverted payments, punitive damages due to

egregious conduct, attorneys’ fees and costs, and such other legal and equitable relief as this

Court deems just and proper.

                                          COUNT VI

              CLASS ALLEGATIONS - NEGLIGENT MISREPRESENTATION

       116.    Plaintiff WEI CHEN realleges and reaver by reference all allegations in all the

preceding paragraphs of this Class and Collective Action Complaint as if fully set forth herein

       117.    In order to induce Plaintiff WEI CHEN and Commission Subclass members to

work extra hours and generate greater sales, Defendants affirmatively promised Plaintiff WEI

CHEN and Commission Subclass members: that Plaintiff WEI CHEN and Commission Subclass

members would be paid commissions at a certain rate.




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          118.   Defendants’ representations as set forth above were false, were false at the time

the agreements were made, and Defendants made these misrepresentations without reasonable

ground for believing them to be true when made.

          119.   Plaintiff WEI CHEN and Commission Subclass members were not aware of the

falsity of Defendants’ representations, and reasonably and actually relied on them in accepting

employment with the Defendants.

          120.   As a direct and proximate result of Defendants’ false misrepresentations, Plaintiff

WEI CHEN and Commission Subclass members are entitled to recovery of the full amount of

wrongfully withheld or diverted payments, punitive damages due to egregious conduct,

attorneys’ fees and costs, and such other legal and equitable relief as this Court deems just and

proper.

                                            COUNT VII

                      CLASS ALLEGATIONS - UNJUST ENRICHMENT

          121.   Plaintiff WEI CHEN realleges and reaver by reference all allegations in all the

preceding paragraphs of this Class and Collective Action Complaint as if fully set forth herein.

          122.   By virtue of Defendants’ conduct as alleged herein, and Plaintiff WEI CHEN and

Commission Subclass members’ performance, Defendants were unjustly enriched by the

Plaintiff WEI CHEN and Commission Subclass members’ conduct and did not compensate

Plaintiff WEI CHEN and Commission Subclass members fully.

          123.   The circumstances are such that it would be inequitable to allow Defendants to

retain the excess benefit from Plaintiff WEI CHEN and Commission Subclass members conduct

without paying fair value for it.




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       124.     As a direct and proximate result of Defendants wrongful withholding of funds

collected that should have been paid to Plaintiff WEI CHEN and Commission Subclass

members, Plaintiff WEI CHEN and Commission Subclass members have sustained damages in

an amount according to proof at trial.

       125.     Defendants’ withholding of proper compensation from employees was done with

malice and in conscious disregard of Plaintiff WEI CHEN and Commission Subclass members

rights, with the intent to cause injury to Plaintiff WEI CHEN and Commission Subclass

members. Plaintiff WEI CHEN and Commission Subclass members are entitled to recovery of

the full amount of wrongfully withheld or diverted payments, punitive damages due to egregious

conduct, attorneys’ fees and costs, and such other legal and equitable relief as this Court deems

just and proper.

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves, Nationwide FLSA Collective

Plaintiffs and Class Members, respectfully requests that this Court grant the following relief:

       a.     A declaratory judgment that the practices complained of herein are unlawful under

              the FLSA and the applicable state laws;

       b.     An injunction against Defendant and their officers, agents, successors, employees,

              representatives and any and all persons acting in concert with them as provided by

              law, from engaging in each of the unlawful practices, policies and patterns set forth

              herein;

       c.     An award of unpaid wages and overtime compensation due under the FLSA and the

              applicable state laws;




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d.     An award of statutory penalties as a result of Defendant’s failure to comply with the

       wage notice and wage statement requirements under the applicable state laws;

e.     An award of liquidated and/or punitive damages as a result of Defendant’s willful

       failure to pay wages and overtime compensation, pursuant to the FLSA and/or and

       the applicable state laws;

f.     An award for damages as a result of Defendants breach of contract, promissory

       fraud, negligent misrepresentation;

g.     An Award for disgorgement as a result of Defendants unjust enrichment;

h.     An award of prejudgment and post judgment interest, costs and expenses of this

       action together with reasonable attorneys’ and expert fees and statutory penalties;

i.     Designation of Plaintiffs as Representative of the Nationwide FLSA Collective

       Plaintiffs;

j.     Designation of this action as a class action pursuant to F.R.C.P. 23;

k.     Designation of Plaintiff CHEN as Representatives of the Class;

l.     Designation of Plaintiff CHEN as Representatives of the Commission Subclass; and

m.     Such other and further relief as this Court deems just and proper.




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                                           JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by

jury on all issues so triable as of right by jury.



Dated:     March 2, 2022                         Respectfully submitted,

                                        By:          s/ C.K. Lee
                                                 C.K. Lee, Esq.

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                                                 and the Class




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